Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 1of 29

{Rev. 01/21} Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the
Western District of New York

Case No, A3- CV 66a\- VeG

(to be filled in by the Clerk’s Office)

Asa Robe cys

Plaintiff(s)
(Write the full name of each platntiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

~Ve
Donaler SPOWS, MOS HLCO MAN

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Qj, A ’ wr en : ae: 2, Bovnt % Belvo

JURY TRIAL: YesX No__

vb

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Amen ded C Complain’

via, 2
Defendant(s)

(Write the full name of each defendant who is being sted. If the

names of all the defendants cannot fit in the space above, please

write “see attached” tn the space and attach an additional page

with the full list afnames. Do not include addresses here.)

nme” See” Meme!” “omg” Smet” “emer!” None!” ome” “ners” Smet” Siem!” Seer” “ogee ee”

N #
A Men Ae. A COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number, A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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(Rev, 01/213 Complaint for Violation of Civil Rights (Prisoner)

L The Parties to This Complaint

A, The Plaintiff(s)

Provide the information beiow for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Asa Qobec’S *\SAB133
All other names by which
you have been known: _ Yone
ID Number #ISA3133
Current Institution ANAC. cocrecsionol anit “yh
Address Box 144
ASS fc6. MY Weare
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if town) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. i

Name Donala SoorXs

Job or Titie ff known) Coc eae SOn\ ‘ at k&sced

Shield Number

Employer

Address Wve. QOXMAS CogtecNtongd <oeily BOX (10
Aomulus My ASYN- OKA

City State Zip Code
Tl iaivida capacity CJ Official capacity

Defendant No. 2

Name ©. Qcown
Job or Title (fyaown) Cocteckiona\ of foor,
Shield Number 4 2563B%
Employer
Address Cive Cows cacteckionad Cactlidy Box \i4
Gomulys VY VASAL- OG
City State Zip Code

PRfieaiviua capacity J Official capacity

Page 2 of 11
Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 3 of 29

(Rey, 01/21) Complaint for Violation of Civil Rights (Prisoner)

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Defendant No, 3

Name ‘ DOOM e Schmirs
Job or Title (if mown) Bearssseted nocse.
Shield Number ~
Employer
Address Ve BOWdS Cottedrtonnr Kacy Box Wa
Qomulus vy \ASWV- OF
City State Zip Code

PWfinaivia capacity [] Official capacity

Defendant No. 4

Name
Job or Title @f kiawn)
Shield Number
Employer .
Address Vive OowdsS cocreckiona\ Varwrky Box \\o
Qomulys vy \ASh ery
City Stale Zip Code
invita capacity [J Official capacity
Basis for Furisdiction

Under 42 U.S.C, § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v, Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 US. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are yeubringing suit against (check alf that apply):
Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s} do you claim is/are being violated by state or local officials?

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C.. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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ATTACHED (A) (A}o9}) O45 2

DEFENDANTS TNFORMATIO

Defenant No.4

Name: Marc Masocco

Job or Title: Sergeant

Shield number: N/A

Fmployer: DOCCS

Address: Five Points Correctional Facility

Box 119 Romulus,ny 14541-0119
f

Individual Capacity [] Official Capacity

Defendant No.5

Name: bobbi bendient

Job Title: Sergeant

Shield number: N/A

Employer: DOGCS

Address: Five Points Correctional Facility
[ Box 119 Romulus,ny 14541-0119

(Vl Individual Capacity [] Official Capacity

Defendant No.6

Name : C.hill

Job or Title: Deputy Superintendent Of Programs
Shield number: N/A
Fmployer: BOCCS

Address: Five Points Correctional Facility

/ Box 119 Romulus,ny 14541-0119

[vi Individual Capacity [] Official Capacity

Defendant No.7

Name: A.Robiguez

Job or Title: Director Special Housing Unit
/tNmate Disciplinary program

Shield Number : N/A

Employer :DOCCS

Address: The Harriman State Campus- Building 2
1220 Washington Avenue
Albany,ny 12226-2050

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Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 5of 29

Age _ ATTACHMENT (S)

1) On May 25, 2022, I wrote a grievance about my food being tampered with.

2) Correctional Officer Brown came to my hospital door on June 13, 2022, at
about 3:30 p.m. and stated to Plaintiff, "slave nigger I would beat your body red
and you will be in a pine box."

3) Correctional Officer Brown continued "keep writing a grievance, ‘yeah we
play with your food' we don't want anybody in the hospital, go back to your cell
before you get hurt; it's okay you won't be writing no more when i'm done with you
cock sucker lick my dick and I leave you alone you snitch, hey we have a snitch."

4) The following day June 14, 2022, around 3:45 p.m. Correctional Officer
Donald Spotts came to my hospital window and started to bang on the window glass
with a wooden stick, Donald Spotts then stated "you need to leave and your going
to suicide watch."

5) Correctional Officer Bobbi Bedient and Mental Health Staff Jane Doe asked
if Plaintiff was suicidal at that point he told Jane Doe he was not.

6) Donald Spotts then walked up to Plaintiff window very loud and aggressive
and stated "don't worry I'm gone get you."

7) Later that day around 4:30 p.m. Nurse Joanne Schmitt opened Plaintiff slot
to give Plaintiff the dinner time Jevity nutritional shake because Plaintiff
refused to eat the dinner meal. Plaintiff explained to Ms. Schmitt one of the
Jevity Box was open from the morning and is spoiled.

8) Registered Nurse Joanne Schmitt response to Plaintiff "I'm not giving you a
different one take this one or you ain't gone get nothing," Plaintiff told Ms.
Schmitt that she would be violating the Court Order if she did that. Ms. Schmitt
response was very aggressive "SHUT THE FUCK UP I DON'T CARE I RUN THE SHOW." Ms.

Schmitt turned around and went into the nurse station slamming the door,

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9) This prompted Correctional Officer Donald Spott's to tell Plaintiff to
place his hands through the feed up hatch at which point Plaintiff followed the
direct order and turn around placing his hand's on the feed up hatch.

10) Plaintiff arm was forcefully twist upwards forcing him to turn around and
see John Doe Officer bending his arm trying to pull him through the feed up hatch
with the help of John Doe # Two (2), Plaintiff arm and shoulder was out the hatch.

11) Correctional Officer Donald started to slam Plaintiff arm in the feed up
hatch in his own individual capcity.

12) Correctional Officer B. Brown opened the hospital door and punched and
kicked Plaintiff, John Doe #1, John Doe #2, Donald Spotts all helped Correctional
Officer B. Brown assault Plaintiff dragging him and choking him, while Bobbi
Bedient yelled "are you done playing games yet." Plaintiff states he woke up in
pain and blood dripping from his hand and nose.

13) Plaintiff yell's for medical attention. Nurse Joanne Schmitt look at me
and then laugh shaking her head and finger in a no motion.

14) About or around 5:00 p.m. Plaintiff started to yell for water as Plaintiff
water was shut off. Correctional Officer Marc Masocco came to Plaintiff window
pour water from the sink opened Plaintiff slot and threw water at the Plaintiff.

15) Correctional Officer Marc Masocco continued filling water in a cup
splashing Plaintiff and the hospital door even at one point Plaintiff whole cell
with a fire extinguisher while John Doe #1 and John Doe #2 watched.

16) Marc Masocco told Plaintiff to come out or it would be round number two.
Plaintiff refused and told them not without a camera in plain view at which point
the camera was recovered.

17) Plaintiff was taken to infirmary room number “five'' (5), were Correctional
Officer Marc Masocco told hi m that he was being placed on suicide watch.

Plaintiff told Marc Masocco he never said he he was suicidal. Plaintiff was forced

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on to suicide watch.

18) Correctional Officer B. Brown took all of Plaintiff property and placed it
in a bag, draged it pass his cell and told Plaintiff "I'm throwing this out and it
ain't over yet."

19) On June 15, 2022, John Doe Correctional Officer's didn't give Plaintiff
food for breakfast and lunch. The next arriving John Doe Correctional Officer also
didn't feed Plaintiff for diner.

20) On June 16, 2022, around 9:00 a.m., Plaintiff asked Jane Doe Nurse why he
didn't get any food all day yesterday. John Doe Correctional Officer told
Plaintiff "it came from the higher up's, that we are forcing you off a hunger
strike even if you don't eat we will say you ate," Jane Doe told Plaintiff "yeah
the game is over we sick of you."' Plaintiff didn't eat all day.

21) June 17, 2022, around 11:00 p.m. Plaintiff yelled to Nurse Mellisa Blake
that he didn't take any food, Nurse Blake stated she didn't see and grabed a box
of Jevity. Correctional Officer B. Brown snatched it out of Nurse Blake hand and
poured it down the sink drain.

22) Plaintiff asked Nurse Blake why she let Correctional Officer do that. Ms.
Blake told Plaintiff she don't have nothing to do with that and she is staying out
of that.

23) Plaintiff reported to the Medical Director John Doe and NP Molly Fisher
about all the injury he had which they refused to treat him for. John Doe cleared
Plaintiff from hunger strike.

24) On June 28, 2022, Plaintiff was given a Misbehavior Report stating that he
assaulted staff, did a unhygienic act, conducted a violent conduct and had
committed interference with a employee none of which Plaintiff did.

25) Hearing Officer C. Hill never presented any evidence that was collected

which the misbehavior report stated was secured per directive #4931. Plaintiff

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objected to the whole hearing and told Hearing Officer C, Hill she was very bias

Plaintiff was found guilty of all charges and given 210 days for every sanction.
26) Plaintiff wrote a grievance for every incident and exhausted all

administrative remedies even for his misbehavior report which special housing

Director A. Rodriguez and affirmed on September 6, 2022.

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(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 ULS.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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il. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check alf that apply):
CJ Pretrial detainee

C Civilly committed detainee

[| Immigration detainee
Convicted and sentenced state prisoner

[J Convicted and sentenced federal prisoner

J Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events, You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

B. If the events giving rise to your claim arose in an institution, describe where and when they arose,

sue avached! (C)

Page 4 of 11

Case 6:23-cv-06621-FPG-MJP ATParEMmanicl9 Filed 03/22/24 Page 10 of 29 CG.
ents That Arose Tri Fivé Points Correctional Facility

On May 25,2022 While in the Hospital Infirmary Room#2 Plaintiff Wrote Grievance About
"Food Being Poisoned"

On June 13,2022 At 3:30pm Officer B.Brown Harrassment ,Sexual Harassment And Threats

On June 14,2022 Around 3:45pm Officer Ronald Spotts Harrassment and threats

Then Around 4:30pm Nurse Joanne Schmitt Denied

Toa Give Jevity and Became Ageressive Then Around 4:35pm Donald Spotts Made A order To
Place Hands In Slot ,John doe#l Twist Plaintiff Arm Trying To Brake it While Donald
Spotts Smashed plaintiffs arm Repeatedly Officer B.Brown Opened Hospital Door And

Assault Plaintiff While John Doe#1 ,John Doe#? Helped Choke ,Drag and Assault Plaintiff
Knocking Him Out Unconscious

Plaintiff Started To Yell For Medical Attention Nurse Joanne Schmitt Denies Medical
Care And Taunts Plaintiff Then Around 3:00pm yelled For His Water To Be Turned Back On
Officer Marc Masocco Came To Plaintiff Window And Got Water From Sink And Splashed
Plaintiff Repeatedly While John Doe#1 and John Doe#3 Watched Even At One Point
Spraying plaintiff Cell With A Fire Extineuisher

Correctional Officer Mare Masocco Told Plaintiff To Come Out Or Its Round Two ( 2 )
Plaintiff Said Only With A Camra At One Point It Was recovered plaintiff Comply With
The officers Orders Plaintiff Was Then Taken To Infirmary Room# 5 and was placed On
Suicde Watch Officer B.Brown Put Plaintiff Property In the Trash

On June 15,2022 plaintiff Was denied All three (3) Meals For The Day By John Doe,s
staff

On June 16,2022 Plaintiff Told Jane Noe Nurse He Did Not Get Any Meals The Day hefore
On June 17,2022 Around 11:00am Plaintiff Told Nurse Mellisa Blake He Did Not eat
Officer B.Brown Snatched The Nutritional Shake (JEVITY) Out Of Nurse Blake Hand And
Pour It Down The Drain PLaintiff Reported What Happen To The medical Director about
All of his Injuries Plaintiff Was Did Not Get Any Medical Treatment For His Injuries
On-June 28,2022 Plaintiff Was Given A Misbehavior Report At Hearing None Of What
Evidence That The Mishehavior Report Stated Was Recovered Pye itineemeel) Plaintiff
Rejected To The Whole Hearing Even The Witness Plaintiff Call Was Not Called To The
Hearing

Plaintiff Exhausted All Administrative Remedies For The Hearing And The Grievance

Decisions

(PAGE) 1 OF ATTACHED (C)

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(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

C. What date and approximate time did the events giving rise to your claim(s) occur?
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See addached ( C) oage( 1) of (1),

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Pain iy Hands Back , Shoulder ebow chesh corenead, Nose
adres She } fie(ve. Somage. NO e\bow , ‘Cu OV side or
Mond Shioul ACE blake. , Scokevy exci wdexe Enso

VL Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged, Explain the basis for these claims.

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{Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

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Vil.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies,

A Did four claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

[] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

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/ yuh SU \7

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance

["] No

[| Do not know

Cc. Does fhe grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
covet some or all of your claims?

Yes

[J No
LJ Do not know

If yes, which claim(s)?

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iRev. 01/21) Complaint for Violation of Civil Rights Prisoner)

D, Did yu file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
congerning the facts relating to this complaint?

Yes
[| No

If no, did you file a grievance about the events described in this complaint at any other fail, prison, or
other correctional facility?

| Yes
[| No

Ez If you did file a grievance;
1. Where did you file the grievance?
Kve QO S$ co¢reckional Cie AM NZ

2. What did you claim in your grievance?

Sex gal Worrass mens
Renied medical VYaccassment, assault Denied food Aovipering with food

3. What was the result, if any?

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4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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KATHY HOCH ANTHONY J. ANNUCCI

Govermor Acting Gemmissioner Ad \ ache ( 9)

To: Robert, A 15A3783/RU-C1-01B

From: M. Schultz, IGPS 7°”
Date: 12/23/22

Subject: grievances

Attached is a list of all the grievances we have on file for you. You have appealed all but one
of them to CORC,

Five Paints Correctional Facility, 6600 State Route 96, Caller Box 400, Rormutus, NY 14544 | (607) 869-6111 | wwa.doces.ny.gov

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Grievance Number DasigsCoda Dato Filed
FPT-0580-22 \/49 05/25/22
ftw: Corrections and
sre. Community Supervision | Associaled Gases Haaring Date
| 12/22/22
HATHY HOCHUL ANTHONY J. ANRUCCI Facity

Teper sar tye Cee gece

Five Poinis Correctional Facility

Tite of Grievance

INCARCERATED GRIEVANCE PROGRAM Food Tampering By Staff
CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY DENIED

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby denied. CORC upholds the determination of the Superintendent for the reasons stated.

CORC notes that at the time of the instant complaint the grievant was housed in the Infirmary, and
that CO's K... and S... deny tampering with the grievant's meals. CORC has not been presented with
sufficient evidence of malfeasance by staff.

CORC further notes that the grievant's allegations prior to May 2022 are untimely and should have
been addressed at that time. in addition, contact with the IGP Supervisor at Elmira CF reveals that
the grievant did not file any grievances at that facility in 2022 and that grievances are processed,
investigated and responded to in accordance with Directive #4040.

CORC advises the grievant to address safety and security concerns to area supervisory staff, at the
time, for the most expeditious means of resolution, medical issues via sick call, and mental health
concerns to OMH staff.

RAL/ras

This document has been electronically signed by Rachael A. Seguin

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Conon STATE Community Supervision

KATHY HOCHUL ANTHONY J. ANNUCCI
Governor Acting Commissioner

MEMORANDUM
From: Rachael Seguin, Director, Incarcerated Grievance Program
SUBJ: Receipt of Appeal
Date: 42/22/2022

A ROBERT 1543783

Five Points Correctional Facility

Your grievance FPT-0673-22 entitled
Harassed/Threatened By CO In Infirmary
was rec'd by CORC on 11/9/2022

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2080 | (618) 457-8126 | www.doces.ny.gov

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stare | Community Supervision

KATHY HOCHUL ANTHONY J. ANNUCCI
Governor _ Acting Commissioner
MEMORANDUM :
From: Rachael Seguin, Director, Incarcerated Grievance Program
SUBJ: Receipt of Appeal

Date: 3/10/2023

A ROBERT 1543783

Five Paints Correctional Facility
Your grievance FPT-0835-22 entitled
Tampering With Food

was rec'd by CORC on 1/11/2023

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doces.ny.gov
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NEW | Corrections and
state | Community Supervision
KATHY HOCHUL ANTHONY J. ANNUCC!
_ Governor - Acting Commissioner
MEMORANDUM
From: ~ Rachael Seguin, Director, Incarcerated Grievance Program
SUBJ: — Receipt of Appeal

Date: 2/14/2023.

AROBERT 1543783 —
Five Points Correctional Facility
Your grievance FPT-0762-22 entitled

- Assauited/Called Name/T hreatened By Officers And
Denied Jevity .

was rec'd by CORC on 12/15/2022

A disposition will be sent to you after the grievance is reviewed by CORC

. The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doces,ny.gov

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mon STATE | Community Supervision

KATHY. HOCHUL ANTHONY J. ANNUCCI

Governor Acting Commissioner
MEMORANDUM |.

From: Rachael Seguin, Director, Incarcerated Grievance Program

SUBuU: Receipt of Appeal .

Date: 5/23/2023

A ROBERT 15A3783
Five Points Correctional Facility
Your grievance FPT-0829-22 entitled

Assaulted/Threatened/Harassed By Officers And Denied
Medical Care

eo was-rec'd by.CORC-on 3/8/2028 ee eet 1 nen -

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman Slate Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (618) 457-8126 | www.deces.ay.gov

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NEW | Corrections and

“5 STATE Community Supervision

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KATHY HOCHUL ANTHONY J. ANNUCCI

Governor Acting Commissioner
MEMORANDUM

From: Rachael Seguin, Director, incarcerated Grievance Program

SUBJ: Receipt of Appeal

Date: . 3/20/2023

A ROBERT 15A3783

Five Points Correctional Facility
Your grievance FPT-1201-22 entitled
Unsealed Food Items In Kosher Tray
was rec'd by CORC on 1/19/2023

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman Siate Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | Wwww.doccs. ny.gov

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won GTATE | Community Supervision

KATHY HOCHUL
- Governor

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ANTHONY J. ANNUCCI
Acting Commissioner

MEMORANDUM

Rachael Seguin, Director, Incarcerated Grievance Program
Receipt of Appeal
§/23/2023

AROBERT 1543783

Five Paints Correctional Facility
Your grievance FPT-1566-22 entitled
Received Kosher Meal Unseaijed -
was rec'd by CORC on 3/8/2023

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman State Campus, 1220 Washinglon Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doccs.ny.gov

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Grievance Number BasigiCada\ bate Filed
. _FPT-0673-22 » | 4g 06/13/22
_—f HW. | Corrections and
o— STATE Community Supervision ‘Associaied Gasas Hearing Date
01/28/23
KATHY HOCHUL ANTHONY JJ, ANNUCGI Faciliy ”

Governor Acliig Camimissioger

Five Points Correctional Facility

Tilla of Grievance '
INCARCERATED GRIEVANCE PROGRAM | Harassed/Threatened By CO In Infirmary
GENTRAL OFFICE REVIEW COMMITTEE

+

GRIEVANT'’S REQUEST UNANIMOUSLY ACCEPTED IN PART

Upen full hearing of the facts and circumstances in the instant case, the actlon requested herein is
hereby accepted in part.

CORC notes that CO B... denies harassing, threatening, retaliating or conspiring against the grievant,
‘tampering with their food or commissary sheet, or making inappropriate comments. CORC has not
been presented with sufficient evidence to substantiate malfeasance by staff.

CORC asserts that no reprisals of any kind shalt be taken against an incarcerated individual or
employee for good faith utilization of the grievance procedure. An incarcerated individual may
pursue a complaint that a reprisal occurred through the grievance mechanism. It is noted that the
sexual misconduct allegations have been reported in accordance with the Department's PREA
guidetines.

With respect to the grievant's appeal, CORC asserts that all relevant information must be presented
at the time of filing in order for a proper investigation to be conducted at the facility level and advises
the grievant to address security and property issues to an area supervisor, at that time, and medical
concerns via sick call,

TAM/ras

This document has been electronically signed by Rachael A. Seguin

Case Gace CYAREP-DEEG-MBE edeaveArtl Fiche PALS! Bag Page BF of 29

NEW YORK STATE a
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-2050

10 of \O ANwWed(D)

REVIEW OF SUPERINTENDENT'S HEARING RR U~C |~l

NAME: ROBERT, ASA NO. 15A3783

HEARING FACILITY: FIVE: POINTS

ON BEHALF OF THE COMMISSIONER AND IN RESPONSE TO YGUR RECENT
LETTER OF APPEAL, PLEASE BE ADVISED THAT YOUR SUPERINTENDENT'S HEARING OF

JULY 11, 2022, HAS BEEN REVIEWED AND AFFIRMED ON SEPTEMBER 6, 2022,

A. RODRIGUEZ
DIRECTOR, SPECIAL HOUSING/
ENMATE DISCIPLINARY PROGRAM

CC; FACILITY SUPERINTENDENT ‘
CENTRAL OFFECE FILES

APPEAL DECISION RENDERED PURSUANT TO SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY OF THE DIRECTOR OF SPECIAL
HOUSENG/INMATE DESCEPLINE PROGRAM.

Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 24 of 29

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

M/A

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

VIA

G. Please set forth any additional information that is relevant to the exhaustion of your administrative

remedies,
uf uA Y

A
“See arrached ( Dp) O£ \O

(Note; You may attach as exhibits to this complaint aby documenjs related to the exhaustion of your
administrative remedies.)

VIIL Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[| Yes
Pxtno

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

N/K

Page 8 of i!
Rey, 91/21) Complaint for Violation of Civil Rights (Prisoner)

Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 25 of 29

A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[ | Yes

PX? No

If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1.

Parties to the previous lawsuit
Plaintiffs)

pe / iA
Defendant(s) . / VIE IX

Court (if federal court, name the district; if state court, name the county and State)

MIA
/
MjA
Name of Judge assigned to your case
MLAs .
MA

Decket or index number

Approximate date of filing lawsuit

Is the case still pending?

[| Yes
[| No

If no, give the approximate date of disposition. MV / A

What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

MA

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Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 26 of 29

(Rev, 01/21) Complaint for Violation of Civil Rights (Posoner)
IX. Certification and Closing

Under Federal Rule of Civil Procedure [1, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing aw or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case--related papers may be
served, J understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff ie y bon

Printed Name of Plaintiff A Sa QoheckS __.
Prison Identification # \S ASTRA 3.

Prison Address AMaca cotrekional facliy Box \44
__PSASCw. My MMo\\o\A4
City Sthte Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

Page 10 of 11

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Revised 65/01 WDNY

CERTIFICATE OF SERVICE
Instructions and Forms

Make extra copies of these forms before youuse them for the first time, so that you will have
copies to use for future filings in your case. You may also obtain copies on the Western
District web site at www.nywd.uscourts.gov on the Intemet.

All document(s) which you wish to file with the Court after the complaint has been

served must first be served on all other parties to the action (if appearing pro se) or all

other parties’ attorneys. The service may be accomplished either by hand-delivering or by

mailing a copy of the document(s) to the other parties or to the parties’ attorneys before you

file the papers with the Court.

You must then include with the document(s) you are filing with the Court either a
signed and dated Certificate of Service informing the Court under penalty of perjury that
you have served a copy of the documents (which you must name) on the other parties by
hand-delivering or mailing the document(s) to the other parties or their attorneys on a named

date in which you state the same thing,

Case 6:23-cv-06621-FPG-MJP Document10_ Filed 03/22/24 Page 28 of 29
Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Plaintiff(s), CERTIFICATE OF SERVICE

v. -CV-

Defendant(s).

I, (print your name) , served a copy of the attached papers
(state the name of your papers)

upon all other parties in this case
by mailing | by hand-delivering | (check the method you

used)

these documents to the following persons (list the names and addresses of the people you
served)

on (date service was made)

I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge, information and belief.

Executed on

(date) (your signature)

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AFFIDAVIT OF SERVICE OF MAILING

STATE OF NEW YORK )
COUNTYOF \KJYOML i C- )ss.:

4, ASA ABE RS , being duly sworn, deposes and says:
On the \9 day of Morey 20 AY served a true copy of the

So
annexed Amen Ae A Comporut- by mailing the same in a sealed envelope, with
\
postage prepaid thereon, in a post office or official depository of the U.S. Postal Service within the

State of New York, addressed to the last known addressee(s) as indicated below:

(Insert here the name[s] and address{es] of the person[s] to whom you are mailing the papers being
filed with this Court. If necessary, attach extra pages for additional names and addresses.)

Name & Address . Name & Address

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’ DD: késtng Buildas
kon 5%. Court wie
[oO Stata Sdhoot

Pakerter it Not 18

aL) ,

(Signature)

(Print Name) ASa QbersS

ny
Sworn to before me this [gt

dayof larch eZ 4
Notary Public Michael A Barham ~
Notary Public, State of New York
Revised: September 18, 2018 ~ Reg. No, 01BA6392051

Qualified in Erie County
Commission Expires 06/03/2027

